Case 4:17-cr-00068-SDJ-KPJ Document 17 Filed 10/02/20 Page 1 of 1 PageID #: 70




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
 v.                                                   §   CRIMINAL NO. 4:17CR068
                                                      §
 CRAYTON ROBINSON                                     §

               MEMORANDUM ADOPTING REPORT AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       Came on for consideration the above-referenced criminal action, this Court having

heretofore referred the request for revocation of Defendant’s supervised release to the United

States Magistrate Judge for proper consideration. The Court has received the Report of the United

States Magistrate Judge pursuant to its order. Defendant having waived allocution before this

Court as well as his right to object to the Report of the Magistrate Judge, the Court is of the opinion
        .
that the findings and conclusions of the Magistrate Judge are correct.

       It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the

opinion of the Court. It is further ORDERED that Defendant’s supervised release is hereby

REVOKED. It is further ORDERED that Defendant be committed to the custody of the Bureau

of Prisons to be imprisoned for a term of six (6) months, with twelve (12) months of supervised

release to follow under the same previously imposed conditions. The Court further recommends

Defendant be placed in the custody of FCI Seagoville, if appropriate.


           So ORDERED and SIGNED this 2nd day of October, 2020.




                                                              ____________________________________
                                                              SEAN D. JORDAN
                                                              UNITED STATES DISTRICT JUDGE


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